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                   In the United States Court of Federal Claims
                                      OFFICE OF SPECIAL MASTERS
                                               No. 07-618V
                                           (Not to be published)


*************************
                                      *
TIMOTHY MARK GILTINAN                 *
and KRISTEN ELIZABETH                 *
KELLER-GILTINAN , parents and         *
natural guardians of B.T.G., a minor, *
                                      *
                      Petitioners,    *
                                      *                                   Filed: January 20, 2015
               v.                     *
                                      *                                   Decision on Attorney’s
SECRETARY OF HEALTH AND               *                                   Fees and Costs
HUMAN SERVICES                        *
                                      *
                      Respondent.     *
                                      *
*************************




                              DECISION (ATTORNEY FEES AND COSTS)
        In this case under the National Vaccine Injury Compensation Program,1 I issued a
decision on September 3, 2014. On January 16, 2015, the parties filed a joint stipulation of fact
concerning attorney’s fees and costs in this matter. The parties’ stipulation requests a total
payment of $18,127.00, representing attorney’s fees and costs for work performed by the law
firm of Robert J. Krakow.
         I find that this petition was brought in good faith and that there existed a reasonable basis
for the claim. Therefore, an award for fees and costs is appropriate, pursuant to 42 U.S.C. §
300aa-15(b) and (e)(1). Further, the proposed amount seems reasonable and appropriate.
Accordingly, I hereby award the total $18,127.00 as a lump sum in the form of a check
payable jointly to petitioners and petitioners’ counsel, Robert J. Krakow.



1
    The applicable statutory provisions defining the program are found at 42 U.S.C. § 300aa-10 et seq. (2006).
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       In the absence of a timely-filed motion for review filed pursuant to Appendix B of the
Rules of the U.S. Court of Federal Claims, the clerk of the court shall enter judgment in
accordance herewith.2

IT IS SO ORDERED
                                                                            /s/ George L. Hastings, Jr.
                                                                                George L. Hastings, Jr.
                                                                                Special Master




2
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice renouncing the
right to seek review.
